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EXHIBIT A

 
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

JOHN G. KRUSE and MARIE KRUSE,

Plaintiffs, Case No. 16-cv-10304-AJT-RSW
Vv. Hon. Arthur J. Tarnow

REGINA CAELL, INC., a foreign

not for profit corporation; RICH BECKMAN,
PETER IDLER, DANIEL SAEGAERT,
STEVEN KONSIN, NORBERT MADUZIA,
AUGUSTINE TRAN and JOSHUA ALLEN,

Defendants.

 

[PROPOSED] NOTICE OF COLLECTIVE ACTION

TO: All people who provided Regina Caeli, Inc. with services in
exchange for a tuition discount (“Work Tuition”).

RE: FAIR LABOR STANDARDS ACT LAWSUIT

The purpose of this Notice is to inform you of a collective action lawsuit filed in
which you are potentially “similarly situated” to the named Plaintiff, Marie Kruse,
to advise you of how your rights may be affected by this action, and to inform you
of the procedure to make a claim if you choose to do so.

1. INTRODUCTION

Mrs. Kruse filed a claim under the Fair Labor Standards Act (“FLSA”) in a suit
pending in the United States District Court for the Eastern District of Michigan
(“Federal Court”). Section 216(b) of the FLSA permits employees to join together to
collectively enforce their federal minimum wage rights. The Federal Court has

authorized us to send you this Notice and to provide you with an opportunity to join
in Mrs. Kruse’s FLSA claim against Regina Caeli, Inc. (“RCA”).

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As an individual who participated in the Work Tuition program at RCA, you have

the right to join this lawsuit if you wish. The law prohibits RCA from retaliating

against you for exercising your rights under the FLSA, including signing this

Notice and joining this lawsuit. It is illegal for RCA to fire you or retaliate
- against you in any manner because you choose to participate in this lawsuit.

If the case is successful, the FLSA authorizes the Court to award you back pay and
an equal amount as liquidated damages, plus costs and attorneys’ fees.

2. DESCRIPTION OF THE LAWSUIT

Mrs. Kruse’s FLSA claim contends that participants in the Work Tuition program
were employees entitled to be paid minimum wage for all hours worked at RCA,
including hours RCA may have considered “volunteer” hours or hours worked in
exchange for a tuition discount.

3. PERSONS ELIGIBLE TO RECEIVE THIS NOTICE
The Federal Court has approved this Notice to be distributed to:

All persons who participated in RCA’s work tuition program during
the period February 26, 2013 through February 26, 2016.

4, YOUR RIGHT TO PARTICIPATE IN THIS LAWSUIT

If you meet the description in the preceding Paragraph and believe you should have
been paid at least minimum wage for the services you provided RCA under the
Work Tuition program, you may join and participate in this lawsuit if you wish. It is
entirely your own decision whether to join this lawsuit.

5. EFFECT OF JOINING THIS LAWSUIT

 

If you choose to join this lawsuit, you will be bound by any judgment entered by the
Federal Court, whether favorable or unfavorable. That means that, if Mrs. Kruse
wins, you likely will be eligible to share in the monetary award approved by the
Federal Court; likewise, if Mrs. Kruse loses, no money will be awarded to you, and
you will not be able to file or join any other lawsuit related to the matters that were
decided in this case.

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6. NOLEGAL EFFECT IN NOT JOINING THIS LAWSUIT

If you choose not to join this lawsuit, you will not be affected or bound by any
judgment entered in this case, you will not receive any back pay or liquidated
damages that may be awarded in this case, and you will retain any legal rights you
may have to file a lawsuit or complaint of your own against RCA.

7. REPRESENTATION BY CLASS COUNSEL

 

Unless you retain other legal counsel, you will be represented in this lawsuit by
Maddin Hauser Roth & Heller, P.C. No prepayment of legal fees or costs is
required. Ifthe case is successful, class counsel will seek to recover their costs and
attorneys’ fees either from RCA or from any settlement or recovery approved by
the Federal Court.

If this collective action is later de-certified, class counsel will inform you of your
options; and class counsel may ask you to enter into a separate written retainer
agreement at that time.

8. HOW TO JOIN THIS LAWSUIT

If you wish to join this lawsuit, please co

p. mplete and return the enclosed
Consent to Join form no later than [ins

  
 

Kathleen H. Klaus

Maddin Hauser Roth & Heller, P.C.
28400 Northwestern Highway
Suite 200

Southfield, Michigan 48034

Fax: (248) 359-7560
kklaus@maddinhauser.com

WE MUST RECEIVE YOUR SIGNED CONSENT TO JOIN FORM
te], FOR YOU TO BE ELIGIBLE TO PARTICIPATE IN
UIT.

 

 

9. NO OPINION EXPRESSED AS TO MERITS OF THIS LAWSUIT

 

Although this Notice and its contents have been authorized by the Federal Court, the
Federal Court takes no position regarding the merits of Mrs. Kruse’s claims and

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there is no assurance that the Court will grant any relief to you or Mrs. Kruse in
this case.

10. CONCLUSION

THIS NOTICE AND ITS CONTENT HAVE BEEN AUTHORIZED BY THE
UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
MICHIGAN, THE HONORABLE ARTHUR J. TARNOW PRESIDING.

PLEASE DO NOT ATTEMPT TO CONTACT
THE COURT REGARDING THIS LAWSUIT

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

JOHN G. KRUSE and MARIE KRUSE,

Plaintiffs, Case No. 16-cv-10304-AJT-RSW
Vv. Hon. Arthur J. Tarnow

REGINA CAELF, INC., a foreign

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STEVEN KONSIN, NORBERT MADUZIA,
AUGUSTINE TRAN and JOSHUA ALLEN,

Defendants.

 

CONSENT TO JOIN

Pursuant to the Fair Labor Standards Act, 29 U.S.C. §216(b), I hereby consent to join and
act as a plaintiff in the above-captioned lawsuit. I agree to be bound by any adjudication
or court rulings in the lawsuit, whether favorable or unfavorable.
(Please Print Legibly)
Signature:

 

Print Name:

 

Date Signed:
Address:

 

 

E-mail:

 

Please complete this form and fill in the information requested as soon as possible.
You may mail, fax, or e-mail your completed materials to:

Kathleen H. Klaus/Maddin Hauser Roth & Heller, P.C.
28400 Northwestern Highway, Southfield, MI 48076
Fax (248) 359-7520; kklaus@maddinhauser.com

 

To be effective, you materials must be returned by [insert date].

 
